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                            THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

                                                                  )   Chapter 11
    In re:                                                        )
                                                                  )   Case No. 19-56885 (JEH)
                                                            1
    MURRAY ENERGY HOLDINGS CO., et al.,                           )
                                                                  )   Judge John E. Hoffman
                                       Debtors.                   )
                                                                  )   (Joint Administration Requested)

 BLACK DIAMOND COMMERCIAL FINANCE, L.L.C.’S (X) LIMITED OBJECTION
    TO DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS (I)
 AUTHORIZING THE DEBTORS TO (A) OBTAIN POSTPETITION FINANCING AND
 (B) UTILIZE CASH COLLATERAL, (II) GRANTING LIENS AND SUPERPRIORITY
       ADMINISTRATIVE EXPENSE CLAIMS, (III) GRANTING ADEQUATE
  PROTECTION, (IV) MODIFYING THE AUTOMATIC STAY, (V) SCHEDULING A
FINAL HEARING, AND (VI) GRANTING RELATED RELIEF; (Y) RESERVATION OF
            RIGHTS; AND (Z) REQUEST OF ADEQUATE ASSURANCE
______________________________________________________________________________

             Black Diamond Commercial Finance, L.L.C. (“BDCF”), as Administrative Agent with

respect to the outstanding term loans (the “Term Loans”) issued under the Credit and Guaranty

Agreement dated April 16, 2015, as amended or otherwise modified from time to time (the “Credit

Agreement”), by and among Murray Energy Corporation as Borrower, Murray Energy Holdings

Co., certain subsidiaries of Borrower as guarantors (collectively, “Murray Energy” or the

“Debtors”), the lenders party thereto from time to time and BDCF (as successor to GLAS Trust

Company, LLC (as successor to Deutsche Bank AG New York Branch)), by and through its

undersigned counsel, hereby files this objection (the “Objection” to) the Debtors' Motion for Entry

of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and



1
      Due to the large number of Debtors in these chapter 11 cases, for which joint administration has been requested,
      a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
      herein. Such information may be obtained on the website of the Debtors’ claims and noticing agent at
      https://cases.primeclerk.com/MurrayEnergy. The location of Debtor Murray Energy Corporation’s principal
      place of business and the Debtors’ service address in these chapter 11 cases is 46226 National Road, St.
      Clairsville, Ohio 43950.
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(B) Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,

(III) Granting Adequate Protection, (IV) Modifying the Automatic Stay, (V) Scheduling a Final

Hearing, and (VI) Granting Related Relief [D.I. 28] (the “Priming DIP Motion”).2 In support of

this Objection, BDCF respectfully states as follows:

                                    PRELIMINARY STATEMENT

        Despite assertions to the contrary, the CTA (as defined below), 3 and moreover any

provisions in the CTA that purport to prioritize the liens of the “Superpriority” lenders in any way

to the liens of the True Term Lenders (as defined below) under the Credit Agreement after the

2018 Refinancing Transaction (as defined below) are invalid and unenforceable. Notwithstanding

this, the Debtors have neither obtained the consent of the True Term Lenders for the Priming DIP

Facility nor provided them with sufficient adequate protection. More importantly, even assuming

the CTA were valid and enforceable, the amount of borrowings under the Priming DIP Facility,

the timing of those borrowings, and the extent of fees proposed to be paid under the Interim Order

are materially prejudicial to the True Term Lenders and to unsecured creditors in general, and

cannot be approved on the first day of these chapter 11 cases because they are not required for the

Debtors to avoid immediate and irreparable harm. In fact, limiting the amount and timing of

approved borrowings and fees to those that are absolutely necessary will allow the Debtors to

effectively shop for a better alternative financing prior to the Final Hearing, which will inure to

the benefit of all creditors. Consequently, the Court should only approve the Priming DIP Facility

only to the extent necessary to prevent immediate and irreparable harm to the Debtors’ estates, and

provide the True Term Lenders with appropriate adequate protection.




2
    Capitalized terms used but not defined herein have the meanings ascribed to them in the Priming DIP Motion.
3
    A copy of the CTA is attached hereto as Exhibit A.
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                                        BACKGROUND

       1.      Pursuant to that certain Waiver, Consent and Amendment No. 3 to Credit and

Guaranty Agreement (the “Third Amendment”), the Second Amended and Restated Collateral

Trust Agreement (the “CTA”), and the Superpriority Credit and Guaranty Agreement (the

“Superpriority Credit Agreement”), on June 29, 2018, Murray Energy purportedly consummated

a refinancing transaction (the “2018 Refinancing Transaction”) with, among others, certain lenders

under the Credit Agreement (the “New Term Lenders”), pursuant to which, among other things,

the New Term Lenders relinquished 97% of their Term Loans and were issued new term loans (the

“New Term Loans”). The terms of the 2018 Refinancing Transaction, specifically the CTA,

provide that the New Term Loans are secured by liens that rank senior to the liens securing the

term loans outstanding under the Credit Agreement (the “True Term Loans”) held by lenders that

did not participate in the 2018 Refinancing Transaction (the “True Term Lenders”).

       2.      On October 29, 2019, the Debtors filed the Priming DIP Motion, which seeks,

among other things, authorization to (i) obtain senior secured postpetition financing on a

superpriority basis in the aggregate principal amount of $440 million, consisting of a $350 million

term loan and a roll-up $90 million DIP FILO Facility (the “Priming DIP Facility”), (ii) grant each

of the DIP Parties priming liens on the DIP Collateral, including the Term Loan Collateral, (iii)

pay principal, interest, fees, and expenses and other amounts payable under the DIP Documents,

and (iv) use Cash Collateral.

       3.      On the first day of these chapter 11 cases, per the Interim Order, the Debtors seek

to, among other things:

            a. Repay the $60 million outstanding under the Prepetition ABL Facility;

            b. Roll-up the $90 million prepetition FILO Facility into the DIP FILO Facility;

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             c. Pay a 3% upfront fee ($10,500,000) on the entire $350 million cash portion of the
                Priming DIP Facility;

             d. Pay a 5% backstop fee ($17,500,000) on the entire $350 million cash portion of the
                Priming DIP Facility; and

             e. Lock in a 1% exit fee ($3,500,000) on the entire $350 million cash portion of the
                Priming DIP Facility.

                                       LEGAL STANDARD

        4.      This Court may authorize the extension of postpetition credit on an emergency basis

with less that 14 days notice “only to the extent necessary to avoid immediate and irreparable

harm to the estate pending a final hearing.” Fed. R. Bankr. P. 4001(c)(2) (emphasis added); see

also In re BX Acquisitions, Inc., No. 18-8014, 2019 WL 1768144, at *7 (B.A.P. 6th Cir. Apr. 19,

2019) (noting that Bankruptcy Court authorization to use cash collateral on interim basis was

proper only after determination that it was “necessary to avoid immediate and irreparable harm to

the Debtor, its creditors, and its assets, businesses, goodwill, reputation, and employees.”).

        5.      Furthermore, before a court approves the terms of a proposed debtor in possession

facility, it must find that such financing “is in the best interest of creditors generally.” In re Roblin

Indus., Inc., 52 B.R. 241, 244 (Bankr. W.D.N.Y. 1985) (citing In re Texlon Corp., 596 F.2d 1092,

1098-99 (2d Cir. 1979)). In addition, a court must review the terms of a debtor in possession

facility to determine whether those terms are fair, reasonable, and adequate given the

circumstances of the debtor and the proposed lender. See, e.g., Aqua Assocs., 123 B.R. 192, 195-

96 (Bankr. E.D. Pa. 1991) (holding that proposed financing should be beneficial and reasonable);

Ames Dep't Stores, Inc., 115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (courts should focus on whether

the terms of proposed DIP financing are reasonable).




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       6.      To obtain court approval for a financing secured by a priming lien under Section

364(d), the Debtor must establish an inability to obtain the necessary credit by any method other

than having such financing secured by such lien. As one court explained:

               Although a debtor is not required to seek credit from every possible
               resource, a debtor must show that it made a ‘reasonable effort’ to
               obtain post-petition financing from other potential lenders on less
               onerous terms and that such financing was unavailable. A court must
               make its decision as to ‘[h]ow extensive the debtor’s efforts to obtain
               credit must be’ on a case-by-case basis.

Suntrust Bank v. Den-Mark Constr., Inc., 406 B.R. 683, 691 (E.D.N.C. 2009) (internal citations

omitted); see also In re 495 Cent. Park Ave. Corp., 136 B.R. 626, 630–31 (Bankr. S.D.N.Y. 1992)

(“Section 364(d)(1) does not require the debtor to seek alternate financing from every possible

lender. However, the debtor must make an effort to obtain credit without priming a senior lien”);

In re Stacy Farms, 78 B.R. 494, 498 (Bankr. S.D. Ohio 1987) (holding that a debtor failed to carry

its burden under Section 364(d) where there was no evidence that the debtor had applied for loans

from institutions other than its pre-petition senior lender and the proposed priming lender).

       7.      If a court authorizes the extension of postpetition financing, then a secured

creditor’s interest in collateral is entitled to adequate protection under Section 363(e) of the

Bankruptcy Code. That section provides, in part:

               Notwithstanding any other provision of [section 363], at any time,
               on request of an entity that has an interest in property used, sold, or
               leased, or proposed to be used, sold, or leased, by the trustee, the
               court, with or without a hearing, shall prohibit or condition such use,
               sale, or lease as is necessary to provide adequate protection of such
               interest.

11 U.S.C. § 363(e) (emphasis added). This section “is not permissive or discretionary—it states

that the court ‘shall’ grant the relief specified, at any time, on request of the secured entity.”




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Metromedia Fiber Network Servs. v. Lexent, Inc. (In re Metromedia Fiber Network, Inc.), 290

B.R. 487, 491 (Bankr. S.D.N.Y. 2003).

       8.      Furthermore, Section 364(d)(1) of the Bankruptcy Code provides that the

bankruptcy court may authorize post-petition financing supported by a superpriority lien only if

“there is adequate protection of the interest of the holder of the lien on the property of the estate

on which such senior or equal lien is proposed to be granted.” 11 U.S.C. § 363(e); Resolution Tr.

Corp. v. Swedeland Dev. Grp., Inc. (In re Swedeland Dev. Grp., Inc.), 16 F.3d 552, 564 (3d Cir.

1994). In drafting these provisions, Congress recognized that secured creditors are entitled to

protection of their property interests under the Fifth Amendment of the Constitution and “insure[d]

that the secured creditor receives the value for which he bargained.” S. Rep. No. 95-989, at 53

(1978), reprinted in 1978 U.S.C.C.A.N. 5787, 5839; accord H.R. Rep. No. 95-595, at 339 (1978),

reprinted in 1978 U.S.C.C.A.N. 5963, 6295.

       9.      Sections 363(e) and 364(d)(1) must be read together with Section 361, which

provides a non-exhaustive list of the forms of adequate protection available for lenders. Such

adequate protection may include, without limitation, “periodic cash payments,” “additional or

replacement lien[s]” and any other relief that “will result in the realization by such entity of the

indubitable equivalent of such entity’s interest in such property.” 11 U.S.C. § 361. This provision

is “regarded as a catch all, allowing courts discretion in fashioning the protection provided to a

secured party. Therefore, a determination of whether there is adequate protection is made on a

case by case basis.” In re Swedeland Dev. Grp., Inc., 16 F.3d at 564. It is a “broad and flexible

definition” of adequate protection that allows courts to fashion any such “relief as will result in the

realization by the protected entity [i.e., the secured creditor] of the value of its interest in the

property involved.” In re 495 Cent. Park Ave. Corp., 136 B.R. at 631; see also Metro. Life. Ins.

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Co. v. Monroe Park (In re Monroe Park), 17 B.R. 934, 940 (D. Del. 1982) (observing that

“adequate protection is a flexible concept which requires a Court to make decisions on a case-by-

case basis”).

          10.      Additionally, adequate protection must ensure that secured parties receive the value

for which they bargained prepetition. See In re Swedeland Dev. Group, Inc. 16 F.3d at 564 (finding

that “adequate protection, no matter its form, should as nearly as possible under the circumstances

of the case provide the creditor with the value of his bargained for rights”) (internal citations

omitted); see also In re Martin, 761 F.2d 472, 476 (8th Cir. 1985) (proposal of adequate protection

“should as nearly as possible . . . provide the creditor with the value of his bargained for rights”).

          11.      Critically, the Debtors bear “the burden of proof on the issue of adequate

protection.” 11 U.S.C. § 364(d)(2); see also In re Plabell Rubber Prods., Inc., 137 B.R. 897, 899

(Bankr. N.D. Ohio 1992) (“Section 36[4](d)(1)(B) requires the movant to prove that the lender

who is subject to being primed will be adequately protected in the face of the loan transaction”).

                                                   ARGUMENT

    I.    The CTA Is Unenforceable, And The Proposed Adequate Protection For The True
          Term Lenders Is Insufficient

          12.      As the True Term Lenders will demonstrate at a subsequent hearing before this

Court, the CTA is unenforceable, and consequently, the True Term Lenders are the actual senior

and first lien lenders in these chapter 11 cases with respect to the Term Loan Collateral.4

          13.      The New Term Loans purport to have obtained their “Superpriority” status in

connection with the 2018 Refinancing Transaction. But the 2018 Refinancing Transaction was


4
      To the extent the Debtors’ stipulations and releases in paragraph 7 of the Interim Order and the effect of such
      stipulations in paragraph 31 of the Interim Order purports to release or otherwise affect any claims BDCF has
      related to the 2018 Refinancing Transaction against the Debtors or third parties or any right BDCF has to seek to
      unwind the 2018 Refinancing Transaction, BDCF expressly objects to such overbroad provisions being included
      in the Interim Order.
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not permitted by the Credit Agreement because, among other things, the auction conducted as part

of the 2018 Refinancing Transaction was not conducted in accordance with the express terms of

the Credit Agreement. The new obligations under the 2018 Restructuring Transaction also violated

the Credit Agreement because they were secured by additional guarantors and by liens that purport

to be senior to, and not pari passu with, the liens held by the True Term Lenders under the Credit

Agreement, which violated the refinancing provisions of the Credit Agreement. Further, the

subordination required a 100% vote under the Credit Agreement that was never obtained.5

           14.      Accordingly, as will be demonstrated in a subsequent proceeding, the liens granted

to the New Term Lenders in connection with the Superpriority Credit Agreement are actually

subordinate to the liens of the True Term Lenders, and True Term Lenders are the actual senior

and first lien lenders in these chapter 11 cases with respect to the Term Loan Collateral.

Consequently, they are entitled to adequate protection beyond what has been provided under the

proposed Interim Order and to which they have not consented and should not be deemed to

consent.

    II.    Even If The CTA Were Valid, The Priming DIP Motion Can Not Be Granted

           15.      Even assuming, arguendo, that the CTA were valid and enforceable, the Priming

DIP Motion should still not be approved without substantial changes. In particular, although the

CTA provides for a “deemed consent” to the Priming DIP Facility, the CTA expressly provides

that the True Term Lenders nonetheless have the right to (1) contest the Priming DIP Facility

because, among other things, it is “materially prejudicial to their interests,” CTA §2.11(a); (2) take

any actions and exercise any all rights that would be available to a holder of unsecured claims,



5
       BDCF expressly reserves any and all rights, powers, privileges, and remedies available under the Credit
       Agreement, applicable law or otherwise as it relates to the 2018 Refinancing Transaction and to seek to unwind
       the adequate protection scheme contained in the Interim Order.
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CTA §2.11(a); and (3) request certain specified adequate protection that is not provided under the

Interim Order. CTA §2.11(b)(1)(C).

       A.      The Proposed Financing is Materially Prejudicial to the Interest of the True
               Term Lenders and Cannot Be Approved Under Applicable Law

       16.     Under the Priming DIP Facility, the Debtors propose (a) to borrow $350 million,

of which $200 million would be drawn immediately upon entry of the Interim Order and $150

million upon entry of the Final Order and (b) roll-up the $90 million prepetition FILO Facility.

The Priming DIP Facility will bear interest at LIBOR plus 11.00%, and the Interim Order will (i)

require payment of a 5% backstop fee on the entire $350 million cash portion of the Priming DIP

Facility payable upon entry of the Interim Order, (ii) require payment of a 3% upfront fee on the

entire $350 million cash portion of the Priming DIP Facility payable upon entry of the Interim

Order, and (iii) lock in a 1% exit fee on the entire $350 million cash portion of the Priming DIP

Facility. The amount of the Priming DIP Facility and the cost thereof are materially prejudicial to

the True Term Lenders.

                   i. Prepetition ABL Refinancing / Prepetition FILO Roll-Up

       17.     With the proceeds of the proposed Priming DIP Facility, the Debtors seek authority

to repay in full the $61,020,000 outstanding under the Prepetition ABL Facility, which borrowing

currently bears interest at LIBOR plus 2.250%. Thus, on the first day of these chapter 11 cases,

the Debtors propose to borrow at LIBOR plus 11.00% under the Priming DIP Facility to repay

over $61 million of debt that costs the Debtors only LIBOR plus 2.250%. This extra interest

expense alone is materially prejudicial to the True Term Lenders. Even if the CTA were valid and

enforceable, the True Term Lenders have a junior lien on the Prepetition ABL Collateral that is

now further subordinated by the extra interest costs (and possibly the relaxation of the borrowing

base requirements) associated with new money borrowings under the proposed Priming DIP
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Facility. Thus, the Debtors cannot reasonably dispute that the “refinancing” of the Prepetition

ABL Facility materially prejudices the True Term Lenders’ likelihood of receiving a recovery by

unnecessarily subordinating the True Term Lenders’ secured claims to the additional interest

expenses that will accrue and be paid ahead of them.

       18.     In addition, the Debtors propose to roll up $90 million of the Prepetition ABL FILO

Claims into the Priming DIP Facility. Not only are the rolled up Prepetition DIP FILO Claims

going to receive higher interest payments during the case, which payments are senior to the True

Term Lenders’ secured claims, but also, as of the first day of these cases, the Debtors have in effect

agreed that any future plan of reorganization must pay what were the Prepetition DIP FILO Claims

in cash, in full, thereby relinquishing forever their right to provide a different treatment to the

Prepetition DIP FILO Claims as a prepetition secured claim under a future plan of reorganization.

       19.     Nor is the basis for such disparate treatment warranted on the first day of these

chapter 11 cases. While the Debtors allege that repayment of Prepetition ABL Facility and roll-

up of the Prepetition ABL FILO Claims was necessary to get access to cash collateral, there is no

evidence that the repayment and roll-up could not occur at the Final Hearing. Based on the

Debtors’ own statements, the Debtors believe there is an equity cushion in the Prepetition ABL

Collateral:

      “The repayment of the ABL portion of the Prepetition ABL Facility merely accelerates the
       satisfaction of the obligations owed under the Prepetition ABL Credit Facility without
       affecting the recovery of other creditors because the Debtors believe that these obligations
       are fully secured by perfected, first priority liens with respect to, among other things,
       inventory and receivables, with a value in excess of outstanding borrowings” (Priming DIP
       Motion ¶74);

      “Because the FILO lender, who the Debtors believe is covered by the current borrowing
       base…the Debtors agreed to convert prepetition FILO loans into DIP FILO loans” (Berube
       Declaration ¶30);


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      “Given the nature of the Debtors’ borrowing base and the over-secured status of the
       prepetition FILO facility…” (Priming DIP Motion ¶53); and

      “Given the prepetition ABL facilities’ borrowing base protections and other liquidity
       blocks, the Debtors believe that the value of that collateral is well in excess of the
       outstanding borrowings under the prepetition ABL facility.” (Berube Declaration ¶27).

Accordingly, the Debtors could have sought, at least on an interim basis, to use the cash collateral

of these prepetition lenders on the basis that an equity cushion exists and by providing some other

form of adequate protection that is much less expensive than the Priming DIP Financing.

       20.     The fact that the proposed “refinancing” and “roll-up” need not be approved at the

Interim Hearing is further underscored by the events leading up to the Debtors entry into the

Priming DIP Facility. First, in the October 2019 Lender Presentation, attached hereto as Exhibit

B, the Debtors marketed a DIP financing that would leave the Prepetition ABL Facility and

Prepetition ABL FILO Claims in place during the course of these chapter 11 cases. Exhibit B at

28. It is not surprising then that in the Priming DIP Motion, the Debtors state that the Debtors’

commitment to repay the Prepetition ABL Facility and roll-up of the Prepetition ABL FILO

Claims was done at the request of the New Term Lenders in exchange for the purported “significant

benefits” the New Term Lenders provided under the Priming DIP Facility. Priming DIP Motion

¶11. The “refinancing” is not necessary to avoid immediate and irreparable harm; it is a means to

put money to work for a substantial rate of return.

       21.     All told, repayment of Prepetition ABL Facility and roll-up of the Prepetition ABL

FILO Claims is extraordinary relief on the first day that materially prejudices the True Term

Lenders (and unsecured creditors) and substantially, if not entirely, predetermines the outcome of

these chapter 11cases by dictating the terms of a bid or plan, which the Debtors have failed to show

is necessary to avoid immediate and irreparable harm.


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                  ii. Unnecessary Expenses in the DIP Budget

       22.     Per the DIP Budget, a copy of which is attached hereto as Exhibit C, the Debtors

propose to pay expenses during the interim period that are not necessary and will materially

prejudice the True Term Lenders by subordinating the secured claims of the True Term Lenders

to fees and interest expenses that the Debtors could avoid incurring, especially during the interim

period. As set forth in the DIP Budget, with the proceeds of the initial borrowing, the Debtors

propose to pay not only the Prepetition ABL Facility, but also (a) fund a $7,163,000 professional

fee escrow, (b) directly pay $4,360,000 of professional fees and (c) pay $28,814,000 of “DIP TL

Related Fees.” The DIP TL Related Fees in particular are both disproportionate and premature as

they are applied to the entire final $350 million amount of the Priming DIP Facility, rather than

the borrowing authorized under the Interim Order.

       23.     All told, including the repayment of the Prepetition ABL Facility, these “first day”

expenses total $101,357,000. During that same interim period, the Debtors’ liquidity never falls

below $61 million, an amount well in excess of the minimum liquidity covenant required by the

Priming DIP Lenders of $50 million. Each dollar that is borrowed and each fee that is paid further

subordinates the True Term Lenders and materially prejudices them without a showing that these

are necessary to avoid immediate and irreparable harm in the interim period. At the outset of these

cases, the Debtors should only be permitted to borrow those funds and pay those fees that are

necessary to avoid immediate and irreparable harm.

                  iii. Excessive Cost of Capital / Failed Marketing

       24.     The overall cost of the Priming DIP Facility is simply excessive, and undoubtedly

reflects the failure of the Debtors to timely seek adequate alternative financing. The Debtors’

prepetition cost of capital was (a) LIBOR+2.75% for the Prepetition ABL Facility, (b) LIBOR+9%

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    for the FILO Asset Based Term Loan and (c) LIBOR+7.25%-7.75% for the New Term Loans.

    Based on a seven month6 Priming DIP Facility, the annualized rate of return of the Priming DIP

    Facility is 28%. This is true despite the fact that the Priming DIP Facility primes nearly all the

    prepetition collateral, including part of the Prepetition ABL Priority Collateral.

            25.      It appears, however, that Evercore only started marketing the Priming DIP Facility

    within the past 30 days and only approached 24 parties to provide the financing. Berube

    Declaration ¶17. Given the complexity of these cases and the diligence required to commit to a

    financing of this nature, a mere 30 day marketing period is too short. Given the annualized rate of

    return and the fact that the New Term Lenders have agreed to prime themselves and have agreed

    to allow subordinated lenders to participate in the Priming DIP Facility and prime them as well

    (Priming DIP Motion ¶48), before nearly $28 million in fees are approved and paid, the Debtors

    should be required to use the time between the interim and final hearings to re-market the Priming

    DIP Facility to see if better terms can be achieved. Indeed, if the Priming DIP Facility is approved

    as is, it will effectively foreclose the Debtors from being able to obtain better financing terms as it

    will lock the Debtors into both the payment of significant fees – $28 million – aggressive case

    milestones and plan treatments for certain creditors.

            B.       The Debtors Must Provide the True Term Lenders With Post-Petition
                     Payment of Fees and Expenses

            26.      The proposed Priming DIP Facility provides the New Term Lenders with payment

    of all professional fees and expenses. As part of their adequate protection, the True Term Lenders

    should receive the same benefit. Payment of professional fees and expenses is a standard,



6
    The DIP Credit Agreement contains a milestone that a “confirmed Acceptable Plan shall have become effective”
    within 210 days of the Petition Date – or seven months. DIP Credit Agreement §5.18(n). Failure to achieve this
    milestone is an Event of Default. DIP Credit Agreement §8.1(c). Accordingly, the Priming DIP Facility is really a
    seven month long facility, not a nine month facility as the Debtors state (Priming DIP Motion ¶8).
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reasonable form of adequate protection, which will ensure the True Term Lenders are adequately

protected from the imposition of priming liens and claims and other challenges to the agent

preserving and protecting the True Term Lenders’ collateral. It will allow the True Term Lenders

to monitor the chapter 11 cases to protect against any diminution in the value of their collateral

and ensure the value of the collateral is maximized.

       C.      The Terms of the Challenge Period Should be Changed

       27.     As discussed, BDCF expressly reserves any and all rights, powers, privileges, and

remedies available under the Credit Agreement, applicable law or otherwise as it relates to the

2018 Refinancing Transaction and to seek to unwind the adequate protection scheme contained in

the Interim Order. In connection therewith, BDCF requests the following changes be made to

Paragraph 31 of the Interim Order. BDCF can provide a markup of the Interim Order to the

Debtors.

      The Challenge Period should be permitted to be extended by this Court for cause;

      The filing of a motion for derivative standing shall toll the Challenge Period until the date
       that is five (5) business days after such motion is determined by a final and non-appealable
       order;

      In a motion for derivative standing, BDCF should be excused from any requirement under
       applicable law to establish that the Debtors unjustifiably failed to bring an action;

      Delete the lead in to 31(i)(y) – “if no Creditors Committee has been appointed”; and

      Add the following after 31(B) before the definition of Challenge - (C) otherwise contesting
       or challenging any of the stipulations, admissions, agreements, and releases set forth in
       paragraph 7 hereof.
                                        CONCLUSION

       28.     For the foregoing reasons, BDCF respectfully requests this Court (i) delay

consideration of the repayment of the Prepetition ABL Facility and roll-up of the Prepetition FILO

Claims until the Final Hearing, (ii) only approve interim borrowings and related fees and expenses

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as is necessary for the Debtors to avoid immediate and irreparable harm, (iii) direct the Debtors to

conduct further marketing for debtor in possession financing on more favorable terms, (iv) grant

additional adequate protection to BDCM in the form of post-petition fees and expenses, and (v)

grant such other relief as the Court deems appropriate under the circumstances.

                                 RESERVATION OF RIGHTS

       29.     This Objection is filed with a full reservation of rights, including the right to amend

and/or supplement this Objection in all respects, to raise additional arguments at the First Day

Hearing, and to raise additional objections at the Final Hearing.



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Dated: October 30, 2019
Cincinnati, Ohio

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